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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



SHAWN BLAS,

             Plaintiff,

                                                         Case No. ______________________
vs.


MICHELLE LUJAN GRISHAM, in her capacity
as the Governor of New Mexico as well as in her
individual capacity,
THE OFFICE OF THE GOVERNOR
OF NEW MEXICO,
PATRICK M. ALLEN, in his capacity as the
Secretary of the New Mexico Department of
Health as well as in his individual capacity, and
THE NEW MEXICO DEPARTMENT OF HEALTH,

             Defendants.



                VERIFIED CLASS ACTION COMPLAINT
                                 &
    REQUEST FOR AN EMERGENCY TEMPORARY RESTRAINING ORDER
AND, ULTIMATELY, A PERMANENT INJUNCTION PREVENTING ENFORCMENT
OF EXECUTIVE ORDER 2023-130 AND THE PUBLIC HEALTH ORDER ENTITLED
 “PUBLIC HEALTH EMERGENCY ORDER IMPOSING TEMPORARY FIREARM
     RESTRICTIONS, DRUG MONITORING AND OTHER PUBLIC SAFETY
    MEASURES,” DATED SEPTEMBER 8, 2023 INSOFAR AS THOSE ORDERS
         CONCERN THE RIGHT TO BEAR ARMS IN PUBLIC PLACES


              “Those who would give up essential liberty, to purchase a little
                  temporary safety, deserve neither liberty nor safety.”

                                   Benjamin Franklin
       Case 1:23-cv-00774-DHU-LF Document 1 Filed 09/10/23 Page 3 of 20




                                    BACKGROUND FACTS

       1.      Shawn Blas, by and through his attorney of record, brings this action on behalf of

himself and all others similarly situated, against Michelle Lujan Grisham and Patrick M. Allen,

in their official capacities as the Governor of New Mexico and the Secretary of the New Mexico

Department of Health, respectively, as well as in their individual capacities, and the public

bodies that employ them.

       2.      This is a civil rights class action suit brought under 42 U.S.C. § 1983 on behalf of

all persons, like Shawn Blas, who either live in or may visit the locations described in paragraph

1 of the Public Health Order entitled “Public Health Emergency Order Imposing Temporary

Firearm Restrictions, Drug Monitoring and Other Public Safety Measures” signed by Patrick M.

Allen in his official capacity as the Secretary of the New Mexico Department of Health on

September 8, 2023 (hereinafter “PHO,” attached here as Exhibit 1).

       3.      Paragraph (1) (A) to (E) on pages 1 to 2 of the PHO state:

            No person, other than a law enforcement officer or licensed security
            officer, shall possess a firearm, as defined in NMSA 1978, Section 30-7-
            4.1, either open carry or concealed, within cities or counties averaging
            1,000 or more violent crimes per 100,000 residents per year since 2021
            according to Federal Bureau of Investigation’s Uniform Crime Reporting
            Program AND more than 90 firearm-related emergency department visits
            per 100,000 residents from July 2022 to June 2023 according to New
            Mexico Department of Public Health, except:

                 A. On private property owned or immediately controlled by the
            person;

                 B. On private property that is not open to the public with the
            express permission of the person who owns or immediately controls such
            property;

                  C. While on the premises of a licensed firearms dealer or gunsmith
            for the purpose of lawful transfer or repair of a firearm;


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       Case 1:23-cv-00774-DHU-LF Document 1 Filed 09/10/23 Page 4 of 20




                  D. While engaged in the legal use of a firearm at a properly
            licensed firing range or sport shooting competition venue; or

                  E. While traveling to or from a location listed in Paragraphs (1)
            through (4) of this section; provided that the firearm is in a locked
            container or locked with a firearm safety device that renders the firearm
            inoperable, such as a trigger lock.

       4.      Aside from the four locations listed on pages 1-2 and paragraphs (1)(A) to (1)(D)

of the PHO, ordinary, law-abiding citizens are prohibited from bearing arms for self-defense in

otherwise non-sensitive public places by the PHO and the Executive Order 2023-130 (attached

here as Exhibit 2).

       5.      At all times related to this complaint, Patrick M. Allen was employed by the New

Mexico Department of Health, and was acting on behalf of, under color of or within the course

and scope of the authority of the New Mexico Department of Health.

       6.      On September 7, 2023, Michelle Lujan Grisham, in her individual capacity and

also in her official capacity as the Governor of New Mexico, made the PHO possible by signing

Executive Order 2023-130; an Executive Order declaring a public health emergency due, in part,

to criminal gun violence and directed the Secretary of the New Mexico Department of Health,

Patrick M. Allen, to collaborate with the Governor’s Office to provide “an effective and

coordinated response to this public health emergency.” See Executive Order 2023-130, p. 2, ¶ 1.

       7.      In addition, Michelle Lujan Grisham, in her individual capacity and in her official

capacity as the Governor of New Mexico, ordered and directed that all “political subdivisions of

the State shall comply with and enforce all directives issued pursuant to this Order.” See

Executive Order 2023-130, p. 3, ¶ 4.

       8.      On September 7, 2023, Executive Order 2023-130 went into effect “immediately”

and is to remain in effect “until October 6, 2023.” See Executive Order 2023-130, p. 3, ¶ 1.
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        Case 1:23-cv-00774-DHU-LF Document 1 Filed 09/10/23 Page 5 of 20




        9.      At all relevant times related to this verified complaint, Michelle Lujan Grisham

was the current occupant of the Office of the Governor for the State of New Mexico, and acting

on behalf of, under color of or within the course and scope of the authority of the Office of the

Governor of New Mexico.

        10.     While the goal enhancing public health is laudable, the methodology employed by

the orders at the heart of this case and signed by New Mexico’s highest State officials violate the

clearly established constitutional rights of individuals, like Shawn Blas, who live and work in

locations effected by these orders, such as Albuquerque, New Mexico.

        11.     These orders effectively eviscerate the rights of citizens who desire to lawfully

exercise their Second Amendment right to bear firearms for self-defense outside of their homes

without fear of reprisal or punishment by government officials who want to curtail those same

constitutional rights.

        12.     The PHO instills a reasonable fear of punishment or reprisal for law-abiding

citizens like Shawn Blas and other similarly situated individuals because it clearly states that any

“person or entity who willfully violates this Order may be subject to civil administrative

penalties available at law.” See PHO, p. 3, ¶ 4.

        13.     In fact, the Executive Order 2023-130 that Michelle Lujan Grisham signed orders

and directs that all “political subdivisions of the State shall comply with and enforce all

directives issued pursuant to this Order.” See Executive Order 2023-130, p. 3, ¶ 4.

        14.     These orders eviscerate the right to carry firearms for self-defense by demanding

that any weapon being transported to or from one of the four enumerated places where one can

possess a functioning firearm, see PHO, pp.1-2, ¶ (1)(A)-(D), be transported “in a locked



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        Case 1:23-cv-00774-DHU-LF Document 1 Filed 09/10/23 Page 6 of 20




container or locked with a firearm safety device that renders the firearm inoperable, such as a

trigger lock,” see PHO, p. 2, ¶ (1)(E).

       15.     These restrictions create an unconstitutional burden on any individual, like

Plaintiff Shawn Blas or any other similarly situated individual, who desires to use a firearm to

protect themselves from any form of violence or criminal activity while travelling to or from one

of the four enumerated locations in the PHO, the only four places where it is permissible hold

and fire a functioning firearm withing the prohibited locations outlined in the PHO.

       16.     Obviously, having a firearm in a locked box in one’s car does not adequately

allow one to swiftly exercise one’s right self-defense the way having a loaded firearm on your

person provides when an exigent situation demands a rapid defensive use of force.

       17.     These orders also unconstitutionally limit the rights of individuals to carry

firearms in public places that are not one of the four enumerated locations in the PHO, but yet

are not sensitive public places where firearm possession can be lawfully curtailed.

       18.     For instance, just last summer the United States Supreme Court clearly and

unambiguously held “that the Second and Fourteenth Amendments protect an individual’s right

to carry a handgun for self-defense outside the home.” See New York State Rifle & Pistol

Association, Inc. v. Bruen, 142 S. Ct. 2111, 2122 (2022).

       19.     In arriving at this holding, the highest court in our country explicitly stated the

“constitutional right to bear arms in public for self-defense is not ‘a second-class right, subject to

an entirely different body of rules than the other Bill of Rights guarantees.’” Id. 142 S. Ct. at

2156 (citing McDonald v. Chicago, 561 U.S. 742, 780 (2010)).




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       20.     The Supreme Court also held that governments could not declare entire cities (or

counties for that matter) to be “sensitive places” where “the government may lawfully disarm

law-abiding citizens.” Id., 142 S. Ct. at 2133.

       21.     In fact, our highest court declared that “expanding the category of ‘sensitive

places’ simply to all places of public congregation that are not isolated from law enforcement

defines the category of ‘sensitive places’ far too broadly.” Id., 142 S. Ct. at 2134.

       22.     The Supreme Court held that there “is no historical basis for New York to

effectively declare the island of Manhattan a ‘sensitive place’ simply because it is crowded and

protected generally by the New York City Police Department.” Id., 142 S. Ct. at 2134.

       23.     Yet that is precisely what Michelle Lujan Grisham and Patrick M. Allen have

attempted to do and have done with Executive Order 2023-130 and the September 8, 2023 PHO:

declare large swaths of public areas like the City of Albuquerque and other cities and counties in

New Mexico to be areas where law abiding citizens are disarmed despite having violated no

other law.

       24.     Such governmental action is prohibited in our Republic.

       25.     Under our constitutional structure, the right of individuals, like Shawn Blas, to

“wear, bear, or carry upon the person or in the clothing or in a pocket, for purposes of being

armed and ready for offensive or defensive action in case of a conflict with another person” is a

right guaranteed under the Second Amendment. Id. 142 S. Ct. at 2134 (internal ellipses omitted).

       26.     Unfortunately, Michelle Lujan Grisham and Patrick M. Allen violated the clearly

established constitutional rights of individuals like Shawn Blas, as well as others similarly

situated, by unlawfully executing Executive Order 2023-130 and the September 8, 2023 PHO;

orders seeking to prevent law-abiding citizens from bearing arms.
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       27.     These individuals, despite whatever public health goals they may have had,

violated their formal oaths of office to uphold the constitution and laws of the United States

when instituting these unconstitutional restrictions on a law-abiding citizen’s right to bear arms.

       28.     These individual Defendants, under the guise of official government action and

using the color of state law, sought to limit the historical right to bear arms for self-defense in

non-sensitive public places in New Mexico.

       29.     Under the PHO, for instance, “any person who willfully violates this Order may

be subject to civil administrative penalties available at law.” See PHO, p. 3, ¶ 4.

       30.     The penalties outlined in the PHO are unconstitutional.

       31.     The issue in this case is a pure legal issue addressing the constitutionality of the

PHO and Executive Order 2023-130.

       32.     This Court can lawfully issue an ex parte temporary restraining order under Fed.

R. Civ. P. 65(b) without notice to an opposing party when “specific facts in” a “verified

complaint clearly show that immediate and irreparable injury, loss, or damage will result to the

movant before the adverse party can be heard in opposition” and the movant’s attorney certifies

in writing any efforts made to give notice and the reasons why it should not be required.”

       33.     In this case, Plaintiff Shawn Blas, as well as others similarly situated, is and has

been irreparably injured by Executive Order 2023-130 and the September 8, 2023 PHO because

those orders declare that he, as well as other law abiding citizens, cannot carry a firearm for self-

defense in the City of Albuquerque, as well as other unknown and publicly undiscernible

locations, when travelling in ordinary non-sensitive public places; those orders also unlawfully

threaten to punish him and other similarly situated individuals for doing so.



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       34.     The injury to Plaintiff Shawn Blas, and the irreparable damage to his

constitutional right to bear arms for self-defense in non-sensitive public places, is current and

ongoing, as it is for other similarly situated individuals.

       35.     Plaintiff Shawn Blas should not have to suffer the indignity or consequence of

being punished by State officials for exercising his constitutionally guaranteed right to bear

firearms in self-defense in non-sensitive public places because the individual Defendants, who

are acting under the color of state law, whether they are acting in their official or individual

capacity, are reaching far beyond their limited powers by limiting the right to bear arms.

       36.     The irreparable injury to Plaintiff Shawn Blas and others similarly situated are so

obvious and concrete that this Court is well within its right to issue an ex parte emergency

temporary restraining order enjoining the implementation of Executive Order 2023-130 and the

September 8, 2023 PHO as far as those orders limit the Second Amendment rights guaranteed to

Plaintiff Shawn Blas and others similarly situated.

       37.     Tellingly, Sam Bregman, who has been appointed as both the District Attorney

for the Second Judicial District in Albuquerque and as the Chairman of New Mexico’s

Organized Crime Commission by Governor Michelle Lujan Grisham, has commented on these

orders as follows: “As an officer of the court, I cannot and will not enforce something that is

clearly unconstitutional.”1

       38.     In short, the unconstitutionality of these orders is widely accepted and should not

be tolerated by the Court.




1
 See https://www.huffpost.com/entry/albuquerque-guns-new-
mexico_n_64fd382fe4b043f73bc10a3e (last visited on September 9, 2023).
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       39.     Plaintiff Shawn Blas informed undersigned counsel about his desire to bring suit

on his behalf as well as others similarly situated after the executive order and PHO became

widely reported on Saturday, September 9, 2023. Due to the lack of office hours for government

employees over the weekend, undersigned counsel has been unable to reach the Michelle Lujan

Gisham or Patrick M. Allen at their usual place of employment to provide them with notice

about this filing. Given the clearly established constitutional protections at stake and the

irreparable unlawful deprivation of those rights by these individual Defendants, acting both in

their individual capacity and in their capacity as government officials, the Court should excuse

formal notice under the circumstances and issue an ex parte emergency temporary restraining

order enjoining the enforcement of these order for fourteen (14) days under Fed. R. Civ. P.

65(b)(2) insofar as these orders impact the right to bear arms in non-sensitive public places.

       40.     Plaintiff Shawn Blas acknowledges that injunctive relief, especially in the form of

an ex parte emergency temporary restraining order, is an extraordinary remedy and that he must

demonstrate a “clear and unequivocal right” to have his request for an emergency temporary

restraining order granted. See People’s Tr. Fed. Credit Union v. Nat’l Credit Union Admin. Bd.,

350 F. Supp. 3d. 1129, 1138 (D.N.M. 2018).

       41.     Nevertheless, Plaintiff Shawn Blas contends that he has met this high burden

given the unequivocal holding in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.

Ct. 2111, 2122 (2022) protecting his right to bear arms in non-sensitive public places.

       42.     The Supreme Court decision in Bruen establishes that Plaintiff Shawn Blas and

others similarly situated have shown (1) a likelihood of success on the merits; (2) a likelihood

that [he] will suffer irreparable harm if the injunction is not granted; (3) the balance of equities is



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in [his] favor; and (4) the [temporary] injunction is in the public interest.” See Republican Party

of N.M. v. King, 741 F.3d 1089, 1092 (10th Cir. 2013).

       43.     It cannot be argued with any force that individuals who knowingly violate the

constitutional rights of our citizens and who use the color of state law and the authority of their

public office to do so are ever acting in the public interest.

       44.     Michelle Lujan Grisham has been quoted in the media as stating, “No

constitutional right, in my view, including my oath, is intended to be absolute.”2

       45.     Yet, Michelle Lujan Grisham’s views are directly at odds established law.

       46.     In the Bruen decision, the Court “declined to engage in means-end scrutiny

because the very enumeration of the right takes out of the hands of government – even the Third

Branch of Government – the power to decide to decide on a case-by-case basis whether the right

is really worth insisting upon.” Bruen, 142 S. Ct. at 2129 (emphasis in original).

       47.     The Buren Court reaffirmed the point – which is directly at odds with Michelle

Lujan Grisham’s belief that the right to bear arms has some untapped flexibility – that a

“constitutional guarantee subject to future judges’ assessments of its usefulness is no

constitutional guarantee at all.” Id.

       48.     Given the substantial likelihood that Plaintiff Shawn Blas as well as other

similarly situated will prevail on the merits of this case, the likelihood that he will suffer

irreparable harm if an ex parte emergency temporary restraining order is not granted, and the

balance of equities in his favor (as is the public interest), Plaintiff Shawn Blas, on behalf of

others similarly situated, asks the Court to impose a security bond of no more than $5 to pay the


2
  See https://abcnews.go.com/US/governor-suspends-carry-firearms-public-albuquerque-due-
gun/story?id=103055114 (last visited on September 10, 2023).
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costs and damages that may be sustained by any party found to have been wrongfully enjoined or

restrained under Fed. R. Civ. P. 65(c).

       49.     Likewise, Plaintiff Shawn Blas, on behalf of others similarly situated, asks that

the motion for a preliminary injunction following an ex parte emergency temporary restraining

order be set for a hearing at the earliest possible time under Fed. R. Civ. P. 65(b)(3).

                                             PARTIES

       50.     Plaintiff Shawn Blas is former law enforcement officer, a citizen of New Mexico

and a resident of Albuquerque, New Mexico, a City that apparently is a target of Executive Order

2023-130 and the September 8, 2023 PHO.

       51.     Defendant Michelle Lujan Grisham is an individual citizen of New Mexico who

also happens to be the duly elected Governor of New Mexico; she is the author and signatory of

Executive Order 2023-130 declaring a public health emergency due to illegal gun violence in

New Mexico; yet Michelle Lujan Grisham, rather than prosecuting the criminals who commit

gun crimes, has unconstitutionally used the color of state law and the power of her office to issue

Executive Order 2023-130 and in so doing directed the Secretary of the New Mexico Department

of Health to “immediately begin collaborating with my Office to provide an effective and

coordinated response to this public health emergency.” See Executive Order 2023-130, p. 2, ¶ 1.

       52.     Defendant Patrick M. Allen is an individual citizen of New Mexico who also

happens to be the duly appointed Secretary of the New Mexico Department of Health; he is the

author and signatory of the September 8, 2023 PHO entitled “Public Health Emergency Order

Imposing Temporary Firearm Restrictions, Drug Monitoring, and Other Public Safety

Measures.” Patrick M. Allen conspired and confederated – in his individual and official capacity

– with Michelle Lujan Grisham who was likewise acting in her individual capacity and in her
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capacity as the Governor of New Mexico to unconstitutionally declared all public spaces defined

on page 1, paragraph 1 of the PHO to be effectively “sensitive areas” where citizens would be

disarmed and stripped of their right to bear arms in public even though those rights are enshrined

in our constitution as articulated by our Supreme Court.

                                CLASS ACTION ALLEGATIONS

       53.      Under Rules 23(a), 23(b)(2) and/or 23(b)(3) of the Federal Rules of Civil

Procedure, Plaintiff Shawn Blas brings this action on behalf of himself and anyone else who

lives in or travels through the locations defined on page 1, paragraph 1 of the September 8, 2023

PHO; the class is defined as follows:

             All law-abiding persons who reside in or travel through the locations
             defined on page 1, paragraph 1 of the September 8, 2023 PHO from
             September 7, 2023 to October 6, 2023 who are subject to the declaration
             of a public emergency due to gun violence under Executive Order 2023-
             130 but desire to bear arms for the purpose of self-defense in non-sensitive
             public places; excluded from this class are the Defendants, their co-
             conspirators, agents, and legal representatives; class counsel and their
             employees, the judicial officers and their immediate family members and
             associated court staff assigned to the case; and all persons within the third
             degree of relationship to any such persons.

                             JURISDICTION AND VENUE

       54.      This Court has original federal jurisdiction under 42 U.S.C. § 1983 and

28 U.S.C. § 1331 because the issues in this suit arise “under the Constitution, laws, or

treaties of the United States.” See 28 U.S.C. § 1331.

       55.      Venue is proper in this federal judicial district because all parties are

residents of this federal judicial district and a substantial number of events that formed

the basis of this action occurred here. See 28 U.S.C. § 1391(b).




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                                               COUNT 1

                THE UNCONSITITUTIONAL DEPRIVATION OF THE SECOND
               AMENDMENT RIGHT TO BEAR ARMS FOR SELF DEFENSE IN
              NON-SENSITIVE PUBLIC PLACES AS APPLIED TO THE STATE OF
                 NEW MEXICO UNDER THE FOURTEENTH AMENDMENT

(Against Michelle Lujan Grisham in her official capacity as Governor of New Mexico as well as
 in her individual capacity and against Patrick M. Allen in his official capacity as the Secretary
          of the New Mexico Department of Health as well as in his individual capacity)

        56.      Paragraphs 1 through 55 of this Verified Complaint are incorporated and included

in this Count.

        57.      Defendants did author and sign official government proclamations that made and

make it possible for other state officials to unconstitutionally punish Plaintiff Shawn Blas and

others similarly situated for carrying firearms for self-defense in non-sensitive public places.

        58.      Defendants did attempt and have sought to unconstitutionally deprive Plaintiff

Shawn Blas, and others similarly situated, of his constitutional right to bear arms in public by

authoring and signing Executive Order 2023-130 and the September 8, 2023 PHO.

        59.      Plaintiff Shawn Blas and others similarly situated have been and continue to be

irreparably harmed by those public orders, signed by individuals acting under the color of state

law as well as in their official capacities.

        60.      Given the state of clearly established constitutional law on the issue of bearing

arms in non-sensitive public places as articulated by our Supreme Court, Plaintiff Shawn Blas

and others similarly situated have shown a clear and unequivocal right to have their right to bear

arms in public restored and Executive Order 2023-130 and the September 8, 2023 PHO declared

unconstitutional as it applies to their right to bear arms.




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        61.      Defendants, acting individually under the color of state law, as well as in their

official capacities, attempted to cause and/or caused Plaintiff Shawn Blas and others similarly

situated to be deprived of their constitutional right to bear arms in non-sensitive public places for

the purpose of self-defense under the Second Amendment as applied to the State of New Mexico

under the Fourteenth Amendment, in violation of 42 U.S.C. § 1983.

                                             COUNT II

    THE UNCONSITITUTIONAL DEPRIVATION OF THE RIGHT TO BEAR ARMS
        FOR SELF DEFENSE IN NON-SENSITIVE PUBLIC PLACES UNDER
ARTICLE II, § 6 OF THE NEW MEXICO CONSTITUTION AND NMSA 1978, § 41-4A-3(A)

 (Against the Office of the Governor of New Mexico and the New Mexico Department of Health)

        62.      Paragraphs 1 through 61 of this Verified Complaint are incorporated and included

in this Count.

        63.      Under the interstitial approach to New Mexico’s state constitutional

interpretation, a state constitutional provision is violated if the conduct of a state actor has

violated the federal constitution.

        64.      In other words, the federal constitution provides a starting point from which New

Mexico’s constitutional rights can only grow more broadly to protect individual rights.

        65.      Given that the individual Defendants in this matter have, using the color of state

law and acting within the course and scope of the authority of a public body, violated the Second

and Fourteenth Amendments to the United States Constitution, New Mexico’s constitutional

right to bear arms has also been violated.

        66.      Article II, § 6 of New Mexico’s constitution states:

              No law shall abridge the right of the citizen to keep and bear arms for
              security and defense, for lawful hunting and recreational use and other
              lawful purposes . . . .
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       67.       Under New Mexico’s interstitial approach to constitutional interpretation, having

the right to bear arms for security and defense for citizens applies to non-sensitive public

locations in New Mexico, notwithstanding the attempt by Executive Order 2023-130 and the

September 8, 2023 PHO to strip law-abiding of those rights.

       68.       Accordingly, the Office of the Governor and the New Mexico Department of

Health are liable for the acts and omission of the employees within those public bodies under

state law. See NMSA 1978, § 41-4A-3 (2021).

       69.       Although formal notice of New Mexico Civil Rights claims must be given a

public body before jurisdiction attaches, when “the governmental entity had actual notice of the

occurrence” the notice provision is waived.

       70.       Given the national outcry over the actions of Michelle Lujan Grisham and Patrick

M. Allen and intense media scrutiny that has swiftly followed the implementation of last week’s

orders, the Office of the Governor and the New Mexico Department of Health have had more

than ample notice of the harm they have inflicted on the constitutional rights of New Mexicans.

                                            COUNT III

   THE DUE PROCESS CLAUSES OF THE FEDERAL AND STATE CONSTITUTIONS
      PREVENT IMPLEMENTATION OF EXECUTIVE ORDER 2023-130 AND THE
   SEPTEMBER 8, 2023 PHO BECAUSE THE LOCATIONS DESCRIBING WHERE THE
     RIGHT TO BEAR ARMS IS PROHIBITED ARE UNCONSTITIONALLY VAGUE

                                      (Against all Defendants)

       71.       Paragraphs 1 through 55 of this Verified Complaint are incorporated and included

in this Count.

       72.       When individuals or public entities author affirmative law seeking to govern the

conduct of the citizens of a state or the United States, they have a duty to describe the prohibited
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conduct with sufficient particularity that a person of ordinary intelligence can understand what

conduct is illegal.

        73.      The PHO describes the places were the right to bear arms in public is prohibited

as follows:

               No person, other than a law enforcement officer or licensed security
               officer, shall possess a firearm, as defined in NMSA 1978, Section 30-7-
               4.1, either open carry or concealed, within cities or counties averaging
               1,000 or more violent crimes per 100,000 residents per year since 2021
               according to Federal Bureau of Investigation’s Uniform Crime Reporting
               Program AND more than 90 firearm-related emergency department visits
               per 100,000 residents from July 2022 to June 2023 according to New
               Mexico Department of Public Health . . . .

        74.      No person of ordinary intelligence can read this language and possibly

understand if the ground they are standing on or travelling through falls with these

orders’ prohibitions for the right to bear arms.

        75.      Reasonable people do not know what cities or counties have averaged

1,000 or more violent crimes per 100,000 residents per year since 2021 according to

the Federal Bureau of Investigations AND also have more than 90 firearm-related

emergency department visits per 100,000 residents from July 2022 to June 2023.

        76.      This language is pure bureaucratic gobbledygook; it is, for people of

ordinary intelligence, impossible to understand without committing one’s self to

exhaustive research that they may or may not be able to locate.

        77.      This kind of language, especially when the constitutional rights of law-

abiding citizens are at stake, is unconstitutionally vague and the Court should declare

it to be so.




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                                     PRAYER FOR RELIEF

        Wherefore, Plaintiff Shawn Blas, on behalf of himself and other similarly situated, pray

for judgment against the Defendants and request that the Court:

        A. Declare Executive Order 2023-130 and the September 8, 2023 PHO unconstitutional

            as it applies to the right to bear arms in non-sensitive public places and permanently

            enjoin Defendants from enforcing that aspect of those orders;

        B. Issue an order declaring this action to be a proper class action, appointing Rothstein

            Donatelli LLP as Class Counsel and Plaintiff Shawn Blas as the Class Representative;

            and requiring Defendants to bear the cost of class notice;

        C. Issue an order awarding Plaintiff Shawn Blas and the proposed class members

            compensatory and punitive damages in an amount to be determined by the Court;

        D. Issue an order awarding attorneys’ fees and costs to Plaintiff Blas and the class;

        E. Provide any equitable relief as may be just under the circumstances of this case.

                                         JURY DEMAND

        Plaintiff Shawn Blas, on his behalf as well as those similarly situated, demands a jury

trial on all issues so triable.

                                              Respectfully Submitted,

                                              ROTHSTEIN DONATELLI LLP

                                              _______________________
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                       CERTIFICATION OF UNDERSIGNED COUNSEL

         Under Fed. R. Civ. P. 65(b)(1)(B), undersigned counsel certifies that he attempted to

contact the individual Defendants over the weekend by calling their respective places of

employment but only reached answering machine at the Office of the Governor and found that

Patrick M. Allen does not have a listed number on the New Mexico Department of Health’s

website.3 Given the exigent nature of the relief requested and the clear and unequivocal right of

Plaintiff Shawn Blas and similarly situated individuals to have their Second Amendment rights

immediately restored so they can exercise their constitutionally guaranteed right to bear arms in

non-sensitive public places for self-defense as articulated in New York State Rifle & Pistol

Association, Inc. v. Bruen, 142 S. Ct. 2111, 2122 (2022), the Court should not wait for formal

notice to be provided to Defendants before issuing an ex parte emergency temporary restraining

order.



                                              _______________________
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3
    See https://www.nmhealth.org/contact/staff/ (last visited on September 10, 2023)
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